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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE


PHYLLIS CARSON; LORNE COSMAN;
WILLIAM DRAPER; PHILLIP
ERICKSON; TERENCE GRANER;                       Case No.: 1:22-cv-00208-CFC
DONALD HARMAN; SARAH
HOUSEHOLDER; TRUDY L. GRANER;
TRUDY LETSON; SABINE MILLER;
DIANA HOBERT-POWELL; JANET
PURVIS; PATRICIA ROBERTS;
CAROLE SCHAUER; CARA
WASHINGTON; STEPHEN KAPLITT;
MICHAEL DOBKIN; CHERYL MEOLA;
DIANE DRAKE; CHRISTOPHER NIND;
ROSE CARINA; BRUCE WILLIAMS;
ANTHONY HARRIS; TIMUR
SAKHARUK; ROBERT DIMARTINO;
IAN PERRY; STEPHEN LUTHER;
GREGORY ORENSKI; RODNEY NASH;
and DEBORAH THELEN individually and
on behalf of all others similarly situated,

                      Plaintiffs,
v.

HP Inc.

                  Defendant.
____________________________________




          PLAINTIFFS’ ANSWERING BRIEF IN OPPOSITION TO
           DEFENDANT’S MOTION TO DISMISS AND STRIKE
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   I.      INTRODUCTION AND SUMMARY OF ARGUMENT

        Plaintiffs submit this Answering Brief in opposition to HP’s motion to

dismiss and strike (“Mot.”) (D.E. 23). Plaintiffs brought this class action as a

putative class action for those who purchased certain laptops manufactured,

marketed, and/or sold by HP, Inc. (“HP”) which all contain a material defect that

causes their hinges to fail, rendering the laptops unfit for their purpose.

        HP moves to dismiss Plaintiffs’ claims in shotgun fashion, arguing all are

legally deficient and should be dismissed, and that class cannot be certified. The

claims, however, are well-pled:

        First, Plaintiffs have adequately alleged material omissions-based statutory

and common law claims that survive under either Rule 8 or 9(b). Plaintiffs’ robust

complaint presents ample allegations of HP’s exclusive prior knowledge of the

widespread defect, and its failure to remedy it.

        Second, Plaintiffs have adequately alleged breach of implied and express

warranty claims given the unconscionable limitations that HP wrongly seeks to

enforce.

        Third, HP’s motion to strike Plaintiffs’ class allegations is a premature

opposition to class certification, contrary to well established precedent in this

Circuit and should be rejected.




                                           1
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          HP’s attempts to feign ignorance of its own well-documented failures should

not be countenanced. For these and other reasons detailed below, its motion should

be denied.1

    II.      FACTUAL BACKGROUND
          Since at least 2017, HP manufactured the Envy Laptops (“Envy”), Envy 360

Laptops (“Envy 360”), Pavilion Laptops ("Pavilion”), Pavilion 360 Laptops

(“Pavilion 360”), and the HP 14, HP 15, and HP 17 Laptops (“HP Laptops”),

which are, collectively, the “Class Laptops.” Second Amended Complaint (“SAC”)

¶1 (D.E. 19).

          Plaintiffs allege that the Class Laptops possess a common, material defect

that compromises the laptops’ hinges and impairs the Class Laptops’ portability

and functionality (the “Hinge Defect”). Specifically, the Class Laptops’ hinges are

defective because they prematurely fail, breaking off from the weak mounting

points on the device. SAC ¶4. The act of opening or closing the laptop fractures

the plastic anchors, which destabilizes the hinges, separates them from the bottom

case, and causes them to ultimately fail. SAC ¶4.

          Defendant has known of the Hinge Defect since at least 2014, from myriad

customer comments and product failure images left on Defendant’s own websites.


1
 Plaintiffs do not oppose HP’s motion with respect to Counts IV (as to Plaintiff
Harman only) and XXXIII. As for Counts XXV and XXIX, Plaintiffs have not yet
asserted them.
                                            2
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SAC ¶17. Nevertheless, Defendant marketed the Class Laptops as “reliable” and

“designed for long-lasting performance,” with a “compact, portable design.” SAC

¶8. HP represented to consumers and technology reporters that the durability of the

laptop hinges was tested by opening and closing the laptops “typically from

minimum angle to maximum angle” 27,000 times. SAC ¶117-18. This represents

seven years of expected use. SAC ¶118. HP stated: “If you’re expected to open and

close the notebook 10,000, we’ll test it to 50,000.” SAC¶121. Based upon HP’s

representations, that equates to fourteen years of use, an unrealistic estimate given

Class members’ experience.

      Since the Hinge Defect impairs the user’s ability to view the screen because

of an unsecured screen case that users fear closing or moving to minimize further

damage, it renders Class Laptops partially or wholly unusable and unfit for their

intended purpose as portable computers.

   III.   LEGAL STANDARD

      In considering a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a court

must “accept all factual allegations as true, construe the complaint in the light most

favorable to the plaintiff, and determine whether, under any reasonable reading of




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the complaint, the plaintiff may be entitled to relief.” Phillips v County of

Allegheny, 515 F.3d 224, 233 (3d Cir. 2008).2

      Under Rule 12(f), a court may strike from a pleading any matter that is

“redundant, immaterial, impertinent, or scandalous.” Motions to strike are highly

disfavored and are considered a “drastic remedy to be resorted to only when

required for the purposes of justice.” See, e.g., Ehrhart v. Synthes (USA), No. 07-

1237, 2007 WL 4591276, at *3 (D.N.J. Dec. 21, 2007).

      When considering a facial attack under Rule 12(b)(1), a claim fails to invoke

the District Court’s jurisdiction only if it is “wholly insubstantial and frivolous.”

Lunderstadt v. Colafella, 885 F.2d 66, 70 (3d Cir. 1989).

    IV.   ARGUMENT

      A. Rule 9(b) does Not Apply to All Plaintiffs’ Statutory Consumer
         Protection Claims, and Where it Does Apply, It Is Met

      Defendant seeks dismissal of Plaintiffs’ complaint under Rule 9(b). Mot. at

11. That fails. First, not all of Plaintiffs’ claims invoke Rule 9(b). In addition to

warranty-based claims,3 many of the consumer protection claims are immune to


2
  Here, and throughout, internal citations and quotations are omitted, unless
otherwise noted.
3
  Mack v. LLR, Inc., No. EDCV 17-00853 JGB (DTBx), 2019 WL 1873294, at *5
(C.D. Cal. Feb. 6, 2019)(Rule 9(b) standard does not apply to implied warranty of
merchantability claims); Bush Truck Leasing, Inc. v. Cummins, Inc., No. 1:18-cv-
871, 2021 2021 WL 9057624, at *6 (S.D. Ohio Apr. 13, 2021)(“Because BTL’s
express warranty claim does not involve fraud, it does not undergo a Rule 9(b)
analysis.”).
                                            4
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Rule 9(b)4 or have a scope beyond fraud —which allows Plaintiffs to pursue claims

under the statute without invoking Rule 9(b).5

      The Rule 8 standard is easily met here for the above-described claims.

Canfield v. FCA US LLC, 2019 WL 133402, at *11, 15 (D. Del. Jan. 8, 2019)

(“Plaintiffs have met pleading standards under Rule 8 by adequately pleading the

alleged defect, [defendant’s] knowledge of the alleged defect, and [defendant’s]

concealment of this information.”).

      For the claims subject to Rule 9(b), a relaxed pleading standard

accommodates the difficulties with pleading omissions rather than affirmative



4
  Florida Deceptive and Unfair Trade Practices Act: Powell v. Subaru of Am., Inc.,
502 F. Supp. 3d 856, 887 (D.N.J. 2020); Missouri Merchandise Practices Act:
Powell, 502 F. Supp. 3d at 887, New York GBL §§ 349 & 350: Amato v. Subaru of
Am., Inc., Civil Action No. 18-16118, 2019 WL 6607148, at *20 (D.N.J. Dec. 5,
2019); Manchanda v. Navient Student Loans & Educ. Credit Mgmt. Corp., No.
19cv5121, 2020 WL 5802238, at *5 (S.D.N.Y. Sep. 29, 2020), Ohio Consumer
Sales Practices Act: Ewalt v. GateHouse Media Ohio Holdings II, Inc., No. 2:19-
cv-4262, 2021 WL 825978, at *15 (S.D. Ohio Mar. 4, 2021), Oregon Unlawful
Trade Practices Act: McKie v. Sears Prot. Co., No. 10-1531-PK, 2011 WL
1587103, at *3 (D. Or. Apr. 26, 2011); Silva v. Unique Bev. Co., LLC, No. 3:17-
cv-00391-HZ, 2017 WL 2642286, at *13 (D. Or. June 15, 2017), and Washington
State Consumer Protection Act: Kreidler v. Pixler, No. C06-0697RSL, 2006 WL
3539005, at *11 (W.D. Wash. Dec. 7, 2006).
5
  Arkansas Deceptive Trade Practices Act: In re Interior Molded Doors Antitrust
Litig., No. 3:18-cv-00718-JAG, 2019 WL 4478734, at *20 (E.D. Va. Sep. 18,
2019), California False Advertising Law: Fraker v. Bayer Corp., No. CV F 08 -
1564 AWI GSA, 2009 WL 5865687, at *9 (E.D. Cal. Oct. 2, 2009), Massachusetts
Consumer Protection Act: In re Interior Molded Doors Antitrust Litig., 2019 WL
4478734, at *20, and Michigan Consumer Protection Act: Michels v. Monaco
Coach Corp., 298 F. Supp. 2d 642, 651 (E.D. Mich. 2003).
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statements; “[l]ike Sherlock Holmes’ dog that did not bark in the night, an

actionable omission obviously cannot be particularized as to the time, place and

contents of the false representations or the identity of the person making the

misrepresentation.” Cohan v. Pella Corp., 2015 WL 6465369, at *3 (D.S.C. Oct.

26, 2015); Kearney, 2018 WL 4144683, at *10; Singh v. Lenovo (United States)

Inc., 510 F. Supp. 3d 310, 326 (D. Md. 2021) (same). Notably, “[v]irtually every

court has rejected [Defendant’s authority] Eisen [v. Porsche Cars N. Am., Inc.],”

including the California district court where it originated, which demands

plaintiff’s complaint construct an elaborate counterfactual in which defendant

disclosed a defect. See Banh v. Am. Honda Motor Co., No. 2:19-cv-05984-RGK-

AS, 2019 WL 8683361, at *7 (C.D. Cal. Dec. 17, 2019). Defendant’s view “defies

common sense.” Weske v. Samsung Elecs., Am., Inc., 42 F. Supp. 3d 599, 612

(D.N.J. 2014). The Rule’s purpose is simply “to place the defendants on notice of

the precise misconduct with which they are charged, and to safeguard defendants

against specious charges of immoral and fraudulent behavior.” Kearney v. BMW,

No. 17-13544 (WHW-CLW), 2018 WL 4144683, at *10 (D.N.J. Aug. 29, 2018).

“[T]o satisfy Rule 9(b), a plaintiff must ‘plead the who, what, when, where and

how . . .’” Id.

       Here, the “who” is HP. SAC ¶1. The “what” is its knowledge of the Hinge

Defect. See, e.g., Id. at ¶¶ 4,32,100,107,121. The “when” is prior to or at the time


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of the sale of the Class Laptops. Id. at ¶¶13,34-35. The “where” is the channels

through which HP sold the Class Laptops. See, e.g., Id. at ¶¶132,337,407. The

“how” is HP’s refusal to disclose a defect of which it had exclusive knowledge,

while also concealing it from purchasers. See, e.g., Id. at ¶¶13,17,18,31,32.

      Precedent from within the Third Circuit contradicts Eisen, showing that

Plaintiffs’ omission allegations are sufficient. See e.g., Opheim v. Volkswagen

Aktiengesellschaft, No. 20-02483 (KM) (ESK), 2021 WL 2621689, at *14 (D.N.J.

June 25, 2021) (plaintiffs can state a claim by alleging that the defendant did not

reveal material information and defendant’s omission led the plaintiff to purchase

the product); Weske, 42 F. Supp. 3d at 612.6

      To the extent that Rule 9(b) applies to any of Plaintiffs’ claims, courts “are

more willing to find that a complaint complies with Rule 9(b) where it asserts

fraudulent omissions, rather than misrepresentation . . .” because plaintiffs in a

fraud by omission suit will not be able to specify the time, place, and specific

content of an omission as precisely as … in a false representation claim.” Defrank

v. Samsung Elecs. Am., Inc., No. 19-21401 (KM) (JBC), 2020 WL 6269277, at *6

(D.N.J. Oct. 26, 2020).


6
  Defendant’s argument that it is immune from liability because some plaintiffs
purchased from third party retailers, rather than HP, fails. The authority on which it
relies is on appeal, see Twardzik v. HP, Inc. et al., Case No. 22-2650 (3d Cir.), and
contradicted by abundant authority, see, e.g., Weske, 42 F. Supp. 3d at 612.

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      B. Plaintiffs Successfully Allege a Common Material Defect, HP’s
         Exclusive Prior Knowledge of the Defect, and a Duty to Disclose

      HP contends that Plaintiffs “fail to identify a common defect so as to give

HP adequate notice of what, exactly, it must defend.” Mot. at 12. Not so. Plaintiffs

all allege that their laptops contained the above-described Hinge Defect. See, e.g.,

SAC at ¶¶6;85-86;136;147;159;166;177;189;200;212;223;236;238-40;251;263;

275;287;297;308;319;330;341;353;365;376;388;399;411;422;435;447;458. There

is no requirement that Plaintiffs’ alleged defect must cross some unspecified failure

rate. Nevertheless, arguments about failure rate or “how that rate compares to the

failure rate of a part that the law would deem ‘defective’” are improper for a

motion to dismiss. Roe v. Ford Motor Company, No. 18-cv-12528-LJM-APP, 2019

WL 3564589, at *7 (E.D. Mich. Aug 6, 2019). The cases that Roe cites for a failure

rate or a timeframe for failure for an alleged defect were decided at summary

judgment after plaintiffs could gather and present evidence in the defendant’s

exclusive possession. See Id.; see also Apodaca v. Whirlpool Corp., No. 1300725,

2013 WL 6477821, at *8, 13 (C.D. Cal. Nov. 8, 2013) (omissions claims survived

based on allegations of “testing at the design state that would have revealed the

alleged defect and numerous consumer complaints of the defect.”). At this stage,

Plaintiffs need only plead facts that establish their entitlement to relief. Plaintiffs

have more than satisfied that standard.



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         Next, in arguing that Plaintiffs “cannot establish HP’s knowledge of the

particular defect alleged....” Mot. at 13. HP ignores the breadth of Plaintiffs’

allegations regarding HP’s knowledge.

         First, Plaintiffs provide exemplar consumer complaints (from thousands

available) all related to the Hinge Defect. SAC ¶¶91-98;101-107. Many such

complaints were posted on HP websites. SAC ¶¶91-97;100-106. Each complaint is

dated, and the computer model is provided. See Id; In re Rust-Oleum Restore

Mktg., Sales Pracs. & Prod. Liab. Litig., 155 F. Supp. 3d 772, 816 (N.D. Ill. 2016)

(finding online customer complaints provide “a temporal connection among the

facts that supports the customer complaints as a basis for knowledge of

[defendant’s] alleged defects.”). These are not “random anecdotal examples of

disgruntled customers posting their views on websites,” as HP asserts, but an

extensive catalog of complaints by customers experiencing the same defect. Mot.

at 13.

         Second, Plaintiffs allege that HP serviced many of the defective notebooks

and, in their own words, “harvest that information to help us understand how to

test [the notebooks] better and what’s driving reliability. SAC ¶107.

         Third, Plaintiffs allege that HP engaged in specifically testing the reliability

of the Class Laptops’ hinges. SAC ¶¶116-23. After those fulsome allegations

Plaintiffs reference HP’s 2012 patent application. SAC ¶ 127. Taking these


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allegations collectively, in the light most favorable to them, Plaintiffs have

established HP knew of the Hinge Defect. See In re Rust-Oleum, 155 F. Supp. 3d

at 816-17 (“Plaintiffs have not only alleged customer complaints, but have alleged

them as a portion of the pool of knowledge in which Rust-Oleum allegedly

swam.”).

      Finally, HP argues that absent a fiduciary relationship, they owed no duty to

Plaintiffs to disclose any defect. Mot. at 14. This is incorrect for every state under

whose laws Plaintiffs are suing. In those jurisdictions, a duty to disclose arises

where (1) a defendant has superior knowledge of an alleged defect,7 (2) the

defendant makes a partial or incomplete disclosure about its product,8 (3) the




7
  Parsons & Whittemore Enters. Corp. v. Cello Energy, LLC, 613 F. Supp. 2d
11271, 1288 (S.D. Ala. 2009); In re MyFord Touch Consumer Litig., 46 F. Supp.
3d 936, 960 (N.D. Cal. 2014); Hooper v. Barnett Bank of W. Fla., 474 So. 2d 1253,
1257 (Fla. Dist. Ct. App. 1985); Harris v. Orange S.A., 636 F.App’x 476, 484
(11th Cir. 2015) (Georgia law); In re Tiraco Marine Svcs., Inc., 374 B.R. 529, 537-
38 (Bankr. S.D.N.Y. 2007) (New York law); Short v. Hyundai Motor Co., 444 F.
Supp. 3d 1267, 1280 (W.D. Wash. 2020).
8
  Wochos v. Woolverton, 378 S.W.3d 280, 288 (Ct. App. Ark. 2010); Rivera v. Ford
Motor Co., No. 16-CV-13786, 2017 WL 3485815, at *7 (E. D. Mich. Aug. 15,
2017); Lightning Lube, Inc., v. Witco Corp., 4 F.3d 1153, 1185 (3d Cir.) (New Jersey
law); Oro BRC4 v. Silvertree Apartments, No. 2:19-CV-04907, 2021 WL 184686,
at *8 (S.D. Ohio Jan. 19, 2021); Krause v. Eugene Dodge, Inc., 509 P. 2d 1199, 1208
(Or. 1973).
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defendant actively conceals the defect,9 or (4) a buyer would not be able to

discover the defect despite exercising reasonable diligence.10

      Plaintiffs established that HP had a duty to disclose. The SAC alleges that

HP had superior knowledge of the Hinge Defect through its pre-sale testing,

repairs, and the extensive complaints online. SAC ¶¶ 17-18, 20, 24; 91-99, 100-

109, 127-28. HP also made partial or incomplete disclosures about the Class

Laptops’ functionality, performance, and lifespan. See, e.g., SAC ¶¶111-121. HP

actively concealed the Hinge Defect from Plaintiffs and the Class. SAC ¶¶13, 20,

31, 36, 110. Finally, the SAC alleges Plaintiffs and Class Members could not

discover the defect despite reasonable diligence because, inter alia, the defective

materials are enclosed within the Class Laptops and inaccessible to buyers prior to

purchase. SAC ¶¶126;138;149;157;168;180;191;203;214;225;242;254;265;278;

290;299;310; 321;332;344;356;367;379;390;402;416;426;438;449;460. On a

motion to dismiss, those allegations are sufficient.

      Finally, HP argues that under Alabama, California, Florida, Missouri, New

Jersey, and Ohio law, there is no duty to disclose defects that manifest outside a



9
  Rickman v. BMW, No. 18-4363(KM) (JBC), 2020 WL 3468250, at *14 (D.N.J.
June 25, 2020); Counts v. Gen. Motors, LLC, 237 F. Supp. 3d
572, 600 (E.D. Mich. 2017).
10
   Carroll v. BMW of N. Am., LLC, 553 F. Supp. 3d 588 at *614 (S.D. Ind. 2021);
Pollard v. Remington Arms Co., LLC, No. 13-0086-CV-W-ODS, 2013 WL
3039797, at *5 (W.D. Mo. June 17, 2013).
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product’s warranty period. Mot. at 15. First, as alleged in the SAC and explained

supra, the warranty limitations on the Class Laptops are unconscionable and

unenforceable. See, e.g., SAC ¶¶ 21-27. Second, HP grossly overstates the law and

none of HP’s cases support such a sweeping proposition.11 As stated above,

Plaintiffs adequately pled all the requisite elements, including duty to disclose.

      C. Plaintiffs’ Statutory Omissions-Based Claims and Fraudulent
         Concealment Claims Are Otherwise Well-Pled

      HP’s arguments that the Alabama, California, Florida, and Michigan

Plaintiffs’ fraudulent concealment claims are precluded by the economic loss


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   In Alabama Tchrs. Credit Union v. Design Build Concepts, Inc., 334 F. Supp. 3d
1171, 1192 (N.D. Ala. 2018), the court found that defendant did not have
contractual or warranty obligations but acknowledged that a “fiduciary or other
type of relationship” could create a duty to disclose (emphasis added). Taleshpour
v. Apple, Inc., 2022 WL 1577802 (9th Cir. 2022) held that “a manufacturer’s duty
to disclose is limited to its warranty obligations unless the manufacturer makes an
affirmative representation. . ..” as is pled in the SAC (emphasis added); see, e.g.,
SAC ¶¶ 111-121. Marlborough Holdings Grp. Ltd., v. Pliske Marine, Inc., 2011
WL 13322647 (S.D. Fla. Mar. 18, 2011) concerned damage, disclosed by the
manufacturer to the retailer, to a yacht purchased by a second-hand purchaser,
instead of a product defect. Owen v. Gen. Motors Corp, 533 F.3d 913, 920 (8th
Cir. 2008) held that knowledge that a windshield motor guaranteed for three years
might fail due to fatigue after the expiration of the warranty period is not “superior
knowledge” that would give rise to a duty to disclose. The Owen Court made no
finding about a product defect that was known to defendant during the warranty
period. Glass v. BMW of North America, LLC, 2011 WL 6887721 (D. N.J. Dec. 29,
2011) is similarly inapposite. Additionally, neither Owen nor Glass considered the
duty to disclose when the seller has made misrepresentations. Finally, the court in
Woods v. Caterpillar, Inc., 2005 WL 1926511, at *3, *5 (Ohio Ct. App. Aug. 12,
2005) dismissed plaintiffs’ fraud claims because he did not demonstrate that any of
defendant’s claims were false. It is otherwise silent on the issue of duty to disclose.

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doctrine are unavailing. See In re Volkswagen Timing Chain Prod. Liab. Litig., No.

16-cv-2765, 2017 WL 1902160, at *18 (D.N.J. May 8, 2017) (recognizing

exceptions to the economic loss doctrine under, inter alia, Florida and Michigan

law; also stating, “Michigan[‘s]... economic loss doctrine does not bar fraud claims

by consumers who are not in contractual privity with the defendant.”); BMTP, LLC

v. RBH, Inc., No. 2:19-CV-00177-RDP, 2020 WL 6868840, at *4, FN3 (N.D. Ala.

Mar. 3, 2020) (holding that where plaintiff and defendant are not parties to

contract, “Alabama’s economic loss rule would not apply to bar their claims”);

Robinson Helicopter Co., Inc., v. Dana Corp., 102 P.3d 268, 276 (Cal. 2004)

(finding an exception to the economic loss doctrine when an agreement is entered

into due to deceit); Anderson v. Apple Inc., 500 F. Supp. 3d 993, 1021 (N.D. Cal.)

(extending Robinson’s exception to fraudulent omission).

      Alabama. Defendant’s forfeiture argument is unavailing. Boddison v. GM

Ltd. Liab. Co., No. 8: 20-cv-2139-WFJ-AEP, 2021 WL 2685770, at *3 (M.D. Fla.

June 30, 2021) (“the better view, supports following the Rule theme of allowing

alternative, even conflicting, claims to be pled at this stage.”).

      Encountering the defect does not automatically trigger the statute of

limitations. Jones v. Coty Inc., 362 F. Supp. 3d 1182, 1212-213 (S.D. Ala. 2018)

(denying summary judgment when plaintiff learned about the “false and

misleading nature of the labeling” a year after encountering the defective product).


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When Plaintiff Carson discovered the fraud – as opposed to when she encountered

the defect – is a fact question that should be resolved in Plaintiffs’ favor on a

motion to dismiss. Robinson v. Gen. Motors LLC, No. CV 20-663-RGA-SRF, 2021

WL 3036353, at *13 (D. Del. Jul. 19, 2021) (declining to dismiss Alabama DTPA

claim on motion to dismiss based on statute of limitations).

      Arkansas. HP claims that Plaintiffs fail to allege an “actual financial loss.”

Mot. at 35. However, the ADTPA defines “actual financial loss” as an

“ascertainable amount of money that is equal to the difference between the amount

paid by a person for goods or services and the actual market value of the goods or

services provided to a person.” Ark. Code Ann. 4-88-102(9). Plaintiff Meola

alleged that her Class Laptop malfunctioned, the Hinge Defect manifested, and that

she overpaid for her Class Laptop, not knowing about the Hinge Defect. Thus, she

alleged far more than mere overpayment, but was left with less than she bargained

for. See Burns v. Toyota Motor Sales, U.S.A., Inc., 2016 WL 128544, at * 9 (W.D.

Ark. Jan. 12, 2016) (plaintiff adequately stated ADTPA claim when he alleged

materials defect and manifestation).

      California. The California Plaintiffs have alleged violations of Consumer

Legal Remedies Act, the Song-Beverly Act, and California’s False Advertising Law

for the “unlawful” prong of the California’s Unfair Competition Law. SAC ¶582. As




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addressed supra, HP’s arguments against these claims are unavailing. Plaintiffs’

UCL claim should not be dismissed.

      Moreover, equitable tolling applies to the California Plaintiffs’ claims. The

discovery rule postpones accrual of a cause of action until the plaintiff discovers,

or has reason to discover, the cause of action and fraudulent concealment tolls the

statute where a defendant caused a claim to grow stale. Brown v. Madison Reed,

Inc., No. 21-CV-01233-WHO, 2022 WL 3579883, at *7 (N.D. Cal. Aug. 19,

2022). Both doctrines require showing “(1) when the alleged discovery of the

violation or fraud occurred, (2) the manner or circumstances of the discovery, and

(3) reasonable diligence that the discovery could not be made earlier.” Johnson v.

Glock, Inc., No. 20-CV-08807-WHO, 2021 WL 1966692, at *4 (N.D. Cal. May

17, 2021). The California Plaintiffs properly pled tolling because they only

discovered the defect after their respective purchases. See e.g., SAC ¶¶155, 159,

162, 166, 185, 189. Plaintiffs each allege their reasonable diligence and that the

discovery could not be made earlier because they could not use or test their Class

Laptops prior to purchase and the defective components are fully enclosed in the

device. See e.g., SAC ¶¶126;157;168;191. Further, “[t]he question of when a

plaintiff actually discovered or reasonably should have discovered the facts for

purposes of the delayed discovery rule is a question of fact unless the evidence can




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support only one reasonable conclusion.” Rushing v. Williams-Sonoma, Inc., No.

16-CV-01421-WHO, 2022 WL 2833980, at *5 (N.D. Cal. July 20, 2022).

      Florida. FDUTPA entitles a successful plaintiff to actual damages. Thomas

v. Generac Power Systems, Inc., No. 21-12997, 2022 WL 4091735, at *2-3 (11th

Cir. Sept. 7, 2022) (applying Fla. Stat. § 501.211(2)). Actual damages are the

“difference in the market value of the product in the condition in which it was

delivered and its market value in the condition which it should have been

delivered.” Fort Lauderdale Lincoln Mercury, Inc., v. Corgnati, 715 So. 2d 311,

314 (Fla. 4th DCA 1998). Where products are worthless, the actual damages are

the purchase prices. Id. The Florida Plaintiffs and Subclass seek to recover “actual,

statutory, and all other damages to the extent permitted by law” which will be

determined by a finder of fact. See SAC ¶523.

      Indiana. An Indiana tort action “does not accrue for statute of limitations

purposes until it has been discovered, which occurs when the plaintiff knew, or

should have known through the exercise of due diligence, that an injury has been

sustained as a result of the tortious act of another.” Elward v. Electrolux Home

Prod, Inc., 264 F. Supp. 3d 877, 890 (N.D. Ill. 2017). Further, “ascertaining when

a cause of action accrues is a factual inquiry that is generally suitable for resolution

only at summary judgment or trial.” Horn v. A.O. Smith Corp., 50 F.3d 1365, 1370




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(7th Cir. 1995). Thus, based on the date their Class Laptops malfunctioned,

Plaintiffs Draper and Millers claims are timely. See SAC ¶263, 275.

         New Jersey. Plaintiffs Dobkin and Kaplitt plead “ascertainable loss” under

the New Jersey Consumer Fraud Act. First, Plaintiffs plead that HP’s warranty on

the Class Laptops is unconscionable and unenforceable. SAC ¶¶ 21-27. To the

extent that HP provided an enforceable warranty, Plaintiffs plead that the warranty

coverage of the Hinge Defect was ineffective and worthless. See, e.g., SAC ¶¶ 20-

27, 81, 92. Finally, HP fraudulently concealed the Hinge Defect so that it would

not be discoverable while still under warranty. SAC ¶340, 334-45, 351-52, 353,

356.12

         New York. Plaintiffs’ claims survive under N.Y. Gen. Bus. Law §349.

“Omissions, as well as acts, may form the basis of a deceptive practices claim . . .

[f]urther, traditional showings of reliance and scienter are not required under GBL

349.” Pelman ex rel. Pelman v. McDonald’s Corp., 396 F. Supp. 2d 439, 444

(S.D.N.Y. 2005), citing Stutman v. Chem. Bank, 731 N.E.2d 608 (N.Y. 2000). Id.

Plaintiffs must prove injury to recover under § 349, though not necessarily

pecuniary harm. Stutman, 95 N.Y.2d at 29. Plaintiffs alleged economic injury by

purchasing defective laptops and thus their GBL §349 claims should survive. See,



12
  Despite HP’s arguments to the contrary, Plaintiff Kaplitt does not bring claims
for his 2012 laptop.
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e.g., Catalano v. BMW of N. Am., Ltd. Liab. Co., 167 F. Supp. 3d 540, 562

(S.D.N.Y. 2016).

      Plaintiffs’ N.Y. Gen. Bus. Law §350 claim survives because Plaintiffs

identify actionable representations they relied upon, including, inter alia, HP’s

representations of the “superior abilities of the Class Laptops and durability of the

hinges while omitting material information concerning the Hinge Defect.” SAC

¶¶494-97. HP’s reliance on Gale v. Int’l Bus. Machines Corp., 9 A.D. 446, 447

(N.Y. App. 2004) is misplaced. Gale found that plaintiff failed to plead causation

“with sufficient specificity” because he did not allege seeing defendant’s

statements advertising reliability of the defective product. Id. Here, before

purchasing the Class Laptops, the New York Plaintiffs relied upon and “viewed

multiple advertisements from HP, touting HP laptops’ reliability, durability, and

superiority over competitive offerings.” See, e.g., SAC ¶¶385,408. The New York

Plaintiffs also allege that they would not have purchased the Class Laptops had

they known of their falsity. SAC ¶¶391,417,427.

      Ohio. Plaintiffs Washington’s and Orenski’s claims are timely because they

are tolled by the fraudulent concealment. Ohio recognizes that concealment of a

cause of action can toll the statute of limitations. Thornton v. State Farm Mut. Ins.

Co., No. 1:06-CV-00018, 2006 WL 3359448, at *6 (N.D. Ohio Nov. 17, 2006).

The Ohio Plaintiffs allege that they could not have discovered the Hinge Defect


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until shortly before this class action was commenced. SAC¶ 464. Furthermore,

Plaintiffs and Class members contacted HP and authorized retailers and were

repeatedly told that the Class Laptops were not defective and that normal use

caused the damage. SAC ¶465. Thus, the Ohio Plaintiffs established that an

affirmative act by the defendant designed to prevent discovery of the cause of

action. Thornton, 2006 WL 3359448, at *6.

      Oregon. Plaintiff Householder’s claims are timely. Private actions under the

Oregon Unfair Trade Practices Act “must be commenced within one year after the

discovery of the unlawful method, act, or practice.” Or. Rev. Stat.§ 646.638(6).

The period begins when “the plaintiff knew or should have known of the alleged

misrepresentation.” Brooks v. BC Custom Construction, Inc., No. 3:18-CV-00717-

YY, 2019 WL 3763769, at *19 (D. Or. May 21, 2019). Plaintiff Householder was

not, and could not, have been aware of the Hinge Defect – and HP’s

misrepresentation about the quality and durability of the Class Laptops – until the

Hinge Defect manifested in October 2020. SAC ¶¶304-13.

      Washington. HP complains that Plaintiff Drake does not identify relied-

upon statements under the Washington CPA. However, HP’s reliance on Minnick

v. Clearwire US, LLC, is misplaced. 683 F. Supp. 2d 1179, 1188 (W.D. Wash.

2010). There, the court found that the complaint “does not allege that any named

Plaintiff actually visited the website.” Id. Here, Plaintiff Drake alleges she


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researched laptops and viewed multiple advertisements from HP “touting HP

laptops’ reliability, durability, and superiority over competitive offerings.” SAC

¶396. Thus, these allegations suffice under the Washington CPA.

      D. Plaintiffs’ Unjust Enrichment Claims Are Well-Pled

      First, as discussed infra, Plaintiffs’ fraud claims need not satisfy Rule 9(b)

particularity but only the “relaxed” requirements in fraudulent concealment cases

where the concealment involves omissions of material fact.” See Kearney, 2018

WL 4144683, at *10.

      Next, Plaintiffs allege the benefit conferred upon HP was unjust. Plaintiffs

allege that (i) HP received a benefit (in the form of unlawfully inflated profits from

sales of the defective products) (see, e.g., SAC ¶¶747-48), (ii) at Plaintiffs’

expense (by paying for the Class Laptops whose quality, durability, or longevity

were not as represented) (SAC ¶¶750-52), and (iii) under circumstances that would

make it unjust for Defendant to retain the benefit without paying for it (i.e., it

would be unjust for HP to retain the benefit acquired as a result of deception,

misrepresentation, and fraud and at the expense of Plaintiffs.) SAC ¶¶749, 752-54.

The SAC alleges HP’s unjust and bad faith conduct, see, e.g., SAC ¶¶ 4, 8, 10-13,

18-35, all of which are incorporated by reference into Plaintiffs’ unjust enrichment

claims. SAC ¶ 745.




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      Third, HP contends that Plaintiffs from various states cannot assert unjust

enrichment because they are governed by an express contract and Plaintiffs have

adequate legal remedies. HP is mistaken. Fed. R. Civ. P. 8(a)(3) and (d)(3), as well

as the law of each of the states in which Plaintiffs bring unjust enrichment claims,

permit pleading in the alternative, regardless of whether those alternative claims

are mutually exclusive. See, e.g., Puhalla v. Mercedes-Benz USA, LLC (In re

Takata Airbag Prods. Liab. Litig.), 462 F. Supp. 3d 1304, 1326 (S.D. Fla. 2020)

(finding, in MDL with various states’ laws at issue, that unjust enrichment can be

pled in the alternative). Plaintiffs are pleading unjust enrichment in the alternative.

Those claims stand.

      Fourth, HP claims that indirect purchasers cannot allege unjust enrichment.

False. HP benefits from sales of HP products by other retailers. On a motion to

dismiss, the question of whether Plaintiffs conferred a direct benefit upon HP is

resolved in favor of Plaintiffs. In re Cardizem CD Antitrust Litigation, 105 F.

Supp. 2d 618, 671 (E.D. Mich. 2000).13 In other states indirect purchasers are




13
  See In re ConAgra Peanut Butter Prod. Liab. Litig., No. 1:07MD1845-TWT,
2008 WIL 2132233, at *2-3 (N.D. Ga. May 21, 2008) (“it is clear that the [unjust
enrichment] benefit is sufficiently direct in this case for the majority of
jurisdictions” to defeat motion to dismiss).
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explicitly permitted to allege unjust enrichment, 14 or it is an unsettled matter of

law.15 Plaintiffs’ unjust enrichment claims should not be dismissed now.

      Finally, the California Plaintiffs’ unjust enrichment claims are tolled for the

reasons explained supra. See Norgart v. Upjohn Co., 981 P.2d 79, 83 (1999)

(under California law, the discovery rule “postpones accrual of a cause of action

until the plaintiff discovers, or has reason to discover the cause of action” which

applies to causes of action predicated on fraud) (quoting Civ. Proc. Code. §

339(1)). This is true for Plaintiff Harman under Fla. Stat. § 95.031(2)(a) (the

discovery rule provides that claims accrue when “the facts giving rise to the cause

of action were discovered or should have been discovered with due diligence.”).

Indiana Plaintiffs too had their unjust enrichment claims tolled under the discovery

rule and the concealing action exception. Wehlig v. Citizens Nat’l Bank, 586 N.E.


14
   Roche Diagnostics Corp. v. Priority Healthcare Corp., 407 F. Supp. 3d 1216,
1251 (N.D. Ala. 2019); See, e.g., Hays v. Adam, 512 F. Supp. 2d. 1330, 1341 (N.D.
Ga. 2007); Roche Diagnostics Corp. v. Shaya, 427 F. Supp. 3d 905, 926 (E.D.
Mich. 2019) (direct or indirect nature of the benefit is simply a factor to consider in
determining whether it would be unjust for the defendant to retain the benefit.)
DeFrank v. Samsung Elecs. Am., Inc., No. 19-CV-21401-KM-JBC, 2020 WL
6269277, at *25 (D.N.J. Oct. 26, 2020); Waldman v. New Chapter, Inc., 714 F.
Supp. 2d 398, 404 (E.D.N.Y. 2010); Miller v. WinCo Foods, LLC, No. 3:19-CV-
02094-AC, 2020 WL 6693149, at *7 (D. Or. Sept. 3, 2020).
15
   See, e.g., MacMorris v. Wyeth, Inc., 2005 WL 1528626, at *4 (M.D. Fla. 2005)
(“indirect purchasers have been allowed [in this state] to bring an unjust
enrichment claim against a manufacturer.”); see also Carriuolo v. Gen. Motors
LLC, 72 F. Supp. 3d 1323, 1326 (S.D. Fla. 2014) (dismissal not proper if the
manufacturer marketed its product directly to consumers but sold its product
through an intermediary, i.e., a retail outfit).
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2d 840, 843 (Ind. 1992) (under Indiana law, a cause of action starts accruing “when

the plaintiff knew of or, in the exercise of ordinary diligence, could have

discovered that an injury had been sustained as a result of the tortious act of

another”); Garneau v. Bush, 838 N.E. 2d 1134, 1142 (Ind. Ct. App. 2005) (statute

of limitations can be tolled when defendant prevented a plaintiff from discovering

an otherwise valid claim by deception). These unjust enrichment claims are timely.

      E. Plaintiffs’ Statutory Unfairness Claims are Well-Pled

      Defendant blithely dismisses the validity of Plaintiffs’ unfairness claims

brought pursuant to certain states’ UDAP statutes. A passing insult is not an

argument, so Defendant can be considered to have conceded the pleading with

respect to these claims. See Doeblers' Pa. Hybrids, Inc. v. Doebler, 442 F.3d 812,

820 n.8 (3d Cir. 2006) (“Judges are not like pigs, hunting for truffles ….”). The

unfairness claims are, in fact, well-pled.16 Under the “Sperry” test for unfairness,

which most states apply, an act is unfair if it (1) offends public policy; (2) is

immoral, unethical, oppressive, or unscrupulous; or (3) causes substantial injury to

consumers. Colgate v. Juul Labs, Inc., 402 F. Supp. 3d 728, 758 (N.D. Cal. 2019)

(finding unfairness claim stated under various state laws and noting the ubiquity of

the Sperry unfairness test).



16
 Notably, Rule 9(b) does not apply to unfairness claims. See Powell v. Subaru of
Am., Inc., 502 F. Supp. 3d 856, 887 (D.N.J. 2020).
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      Here, Defendant’s conduct: (1) offends public policy because the unfairness

prongs are part of states’ “little FTC” Acts, which were deliberately intended to

empower consumers against “protracted reckless conduct, aggravated by failure to

give prompt notice when lapses were discovered internally, and causing very

widespread and serious harm … to innumerable consumers” of the kind alleged

here, Amerifirst Bank v. TJX Cos., 564 F.3d. 489, 496 (1st Cir. 2009) (SAC ¶¶ 935-

945); (2) is immoral, unethical, oppressive, and unscrupulous in that Defendant

had prior knowledge of the debilitating defect, yet failed to disclose to consumers;

and (3) caused substantial injury to consumers since the omission was material

and, therefore, Plaintiffs would have paid less or chosen a different product had

they known the truth at the time of sale. These allegations state an unfairness

claim. See, e.g., Powell v. Subaru of Am., Inc., 502 F. Supp. 3d at 887 (unfairness

claims stated under three states’ laws in suit alleging omission of a material

defect).

      F. Plaintiffs’ Breach of Express Warranty Claims Are Well-Pled

      It matters not that the Hinge Defect manifested after HP’s one-year warranty

period expired, Rosal v. First Fed. Bank of California, 671 F. Supp. 2d 1111, 1123

(N.D. Cal. 2009), because Plaintiffs adequately allege the durational limitations in

HP’s warranty are unconscionable and unenforceable. SAC ¶¶ 25-27.




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      The UCC allows courts to decline or alter enforcement of unconscionable

contract clauses. See, e.g., 6 Del. C. § 2-302(1). Courts find agreements

unconscionable when both substantive and procedural unconscionability are

present. See e.g., Standard Gen. L.P. v. Charney, No. 11287-CB, 2017 WL

6498063, *17 (Del. Ch. Dec. 19, 2017). Substantive unconscionability is evidenced

by terms showing a gross imbalance that “shocks the conscience.” James v. Nat'l

Fin., LLC, 132 A.3d 799, 815 (Del. Del. Ch. 2016). Procedural unconscionability

compares the parties’ relative bargaining power and whether the weaker party had

meaningful choice. Id.

      The U.C.C. requires that, “[w]hen it is claimed or appears to the court that

the contract or any clause thereof may be unconscionable the parties shall be

afforded a reasonable opportunity to present evidence as to its commercial setting,

purpose and effect to aid the court in making the determination.” 6 Del. C. § 2-

302(2) (emphasis added). HP’s motion lacks any discussion concerning the U.C.C.

section authorizing the Court to allow discovery on the unconscionability issue.

See Payne v. Fujifilm U.S.A., Inc., 2007 WL 4591281 at *4 (D.N.J. Dec. 28, 2007)

(unconscionability properly pled as to the durational limits of Defendant’s

warranty in furtherance of U.C.C. §2-302). Even if the Court were to rule on the

pleadings, Plaintiffs adequately allege HP’s warranty is unconscionable.




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      As stated, Plaintiffs adequately allege HP’s one-year warranty limitation is

substantively and procedurally unconscionable. SAC ¶¶100-108. Plaintiffs allege

HP possessed prior knowledge of the defect through, among other things, online

customer complaints going as far back as 201417; knew that the defect manifests,

“both inside and outside of the warranty period.”18; and nonetheless concealed the

defect.19

      Additionally, Plaintiffs allege the durational limits on the warranty are

substantively unconscionable because HP knowingly failed to disclose the defect

while misleading consumers regarding the performance of the Class Laptops. SAC

¶ 27. Plaintiffs also allege procedural unconscionability because of the unequal

bargaining power between Defendant and the customers. At the time of purchase,

Plaintiffs and the other Class members lacked other options for negotiating the

warranty terms. SAC ¶¶ 25-26. Further, Defendant, knowing of the latent defect,

manipulated the warranty so it often expired before the defect materialized and

alerted the consumer. Skeen v. BMW of N. Am., LLC, 2014 WL 283628, at *12

(D.N.J. Jan. 24, 2014) (finding procedural and substantive unconscionability in a


17
   Payne, at *4-5 (finding Plaintiff specifically alleged Defendant knew of the
alleged defect and failed to disclose it to Plaintiff and the Class).
18
   SAC ¶¶ 22, 99
19
   In re Samsung DLP Television Class Action Litig., 07-CV-2141 (GEB), 2009
WL 3584352, at *5 (D.N.J. Oct. 27, 2009) (“Plaintiffs, by pleading that defendant
knowingly sold a defective product without informing consumers about the defect,
stated a claim that the express and implied warranties were unconscionable”).
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defective vehicle case and compiling cases); Singh, 510 F. Supp. 3d at 321-324

(finding sufficient allegations of procedural and substantive unconscionability in

defective laptop hinge case).

      HP cites cases where the plaintiff failed to allege or establish at summary

judgment the necessary facts for an unconscionability claim. Smith v. Ford Motor

Co., 462 F. App’x 660, 664 (9th Cir. 2011) (noting on summary judgment that the

plaintiff failed to provide sufficient regarding procedural unconscionability);

Popham v. Keystone RV Co., 2016 WL 4993393, at *7 (N.D. Ind. Sept. 19, 2016)

(a summary judgment decision on unconscionability ); Tabak v. Apple, Inc., 2020

WL 9066153, at *12 (N.D. Cal. Jan. 30, 2020) (plaintiff insufficiently alleged to

raise the reasonable inference that a warranty was procedurally or substantively

unconscionable.”); Brothers v. Hewlett-Packard Co., 2006 WL 3093685, at *8

(N.D. Cal. Oct. 31, 2006) (same).

      The breach of express warranty claims should be sustained as adequately

alleging unconscionability as to the durational limits of the warranty.

      G. Plaintiffs’ Breach of Implied Warranty Claims Are Well-Pled

      HP argues that Plaintiffs’ implied warranty claims fail. HP is wrong and its

effort to disclaim or limit its implied warranty lacks merit.

      Defendant’s quotation of Stearns v. Select Comfort Retail Corp. selectively

omits the immediately ensuing sentence: “this does not mean the alleged defect


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must preclude any use of the product at all.” No. 08-2746 JF, 2009 WL 1635931,

at *8 (N.D. Cal. June 5, 2009). This omission is no accident. Stearns contradicts

the more stringent requirement that HP espouses in its quotation of Swearingen v.

Amazon Pres. P'rs, Inc., No. 13-cv-04402-WHO, 2014 WL 3934000, at *1 (N.D.

Cal. Aug. 11, 2014) (to be unmerchantable, the products must not possess “even

the most basic degree of fitness for ordinary use”).

      A laptop that cannot be opened or moved fails either test. However, the more

reasonable approach laid out in Stearns is echoed in other jurisdictions, including

this one, and should be applied. See e.g. Wesley v. Samsung Elecs. Am., Inc., 2021

WL 5771738, at *7-8 (D.N.J. Dec. 3, 2021) (rejecting argument that because the

plaintiff continued to use the oven, the ovens could not be unmerchantable); Singh,

510 F. Supp. 3d at 325-26 (denying motion to dismiss implied warranty claims).

      Additionally, a latent defect need not immediately present itself for the

product to be unmerchantable. In re Volkswagen Timing Chain Prod. Liab. Litig.,

2017 WL 1902160, at *14-16 (rejecting defendant’s claim that the vehicles were

merchantable where the latent defect manifested years after purchase).20




20
  Therefore, Defendant’s citation to Mooradian v. FCA US, LLC, is also
distinguishable because the defect there was repaired and the defect was an
annoyance rather than a fundamental failure, is unavailing. No. 1:17-cv-1132, 2017
WL 4869060, at *7 (N.D. Ohio Oct. 27, 2017).
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      For Defendant’s state-specific arguments,21 HP incorrectly claims that

Plaintiffs’ implied warranty claims should be dismissed because the express

warranty has limited the duration of the implied warranty. Such a determination is

premature and counter to applicable caselaw because the limited durations are

unconscionable and HP’s effort to disclaim or limit its implied warranty fail.

Skeen, 2014 WL 283628 at *12 (D.N.J. Jan. 24, 2014) (finding unconscionability

based on defendant’s prior knowledge of the defect and compiling cases); Bossart

v. GM LLC, 2021 WL 5278191, at *6-7 (E.D. Mich. May 19, 2021) (premature to

assess plaintiff’s unconscionability argument because additional information

needed as to defendant’s pre-sale knowledge); Singh, 510 F. Supp. 3d at 326

(defendant’s efforts to disclaim its implied warranty was “an affirmative defense

and should seldom be resolved on a motion to dismiss”); Duncan v. Nissan N. Am.,

Inc., 305 F. Supp. 3d 311, 320 (D. Mass. 2018) (plaintiffs properly pled

unconscionability holding under Oregon law).

      Because Plaintiffs alleged a: (1) lack of choice over the terms of

the warranty, (2) disparity of bargaining power, (3) purposeful limitation of

the warranty period to exclude the defect, and (4) defect known by the




21
  Since Defendant provides no state-specific dismissal argument for the
Massachusetts implied warranty claim, and HP’s general argument for dismissal is
unavailing, the claim survives.
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manufacturer at the time of sale but concealed from the buyer, dismissal is not

warranted. See, e.g., SAC ¶¶13,17,18,25,31,32,676,702,740.

      Defendant also incorrectly claims that a lack of privity dooms Plaintiffs’

Florida, Georgia, and Oregon implied warranty claims. Not so. See In re

Volkswagen, 2017 WL 1902160, at 16 (“In Georgia, the vertical privity

requirement is satisfied when the manufacturer provides an express warrant…”);

Wilson v. Volkswagen Grp. of Am., Inc., 2018 WL 9850223, at *3 (S.D. Fla. Nov.

30, 2018) (“privity, or an exception to the privity requirement for establishing a

breach-of-implied-warranty claim, can be shown where a manufacturer provides a

warranty to a buyer.”); In re Chevrolet Bolt EV Battery Litig., No. 2:20-CV-13256-

TGB-CI, 2022 WL 4686974, at *37 (E.D. Mich. Sep. 30, 2022)(“Oregon-law

implied warranty claim need not be dismissed for lack of privity.”). Because HP

provided an express warranty to the Plaintiffs as the ultimate purchasers and users

of the products, the privity exception applies.

      Finally, the statutes of limitations Defendant invoked should be tolled by

HP’s deceptive conduct. See SAC ¶464; Luna v. FCA US LLC, No. 19-CV-08229-

LHK, 2020 WL 3605554, at *5 (N.D. Cal. July 2, 2020) (fraudulent concealment

tolling applies to Song-Beverly claims); Bowes v. Paccar, Inc., No. C19-1794-




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JCC, 2020 WL 3100828, at *4-5 (W.D. Wash. June 11, 2020)(declining to dismiss

an Ohio breach of implied warranty claim on similar facts).22

      H. Striking Class Allegations is Premature and Contrary to Law

      HP argues that the class allegations should be stricken. Mot. at 28-32. HP is

wrong. Motions to strike class allegations are disfavored in this District and

premature. See, e.g., Davis v. D.R. Horton, Inc., No. 19-1686-LPS-JLH, 2020 WL

6042091, at *2 (D. Del., Oct. 13, 2020) (agreeing with and adopting the Report and

Recommendation of the Magistrate Judge that striking class allegations at the

pleading stage is premature).

      Defendant’s state-law arguments regarding class action bars have been

rejected. Cohen v. Subaru of Am., Inc., No. 1:20-cv-08442-JHR-AMD, 2022 WL

721307, at *29 (D.N.J. Mar. 10, 2022) (permitting plaintiffs to bring consumer

class claims under Alabama and Arkansas law); Reynolds v. FCA US LLC, 546 F.

Supp. 3d 635, 657 (E.D. Mich. 2021) (same for Georgia law claim). The pleading

deficiency alleged regarding the Ohio Consumer Sales Practices Act can be




22
   Moreover, the Song-Beverly limitations invoked by Defendant do not apply to
latent defects like the Hinge Defect. Daniel v. Ford Motor Co., 806 F.3d 1217,
1223 (9th Cir. 2015) (California courts have emphasized the policy that Song-
Beverly Act should be construed consistently with the legislature’s intent to
expand consumer protection); CF Gainesville Inv'r, LLC v. Astroenery Solar, Inc.,
No. 2:21-CV-02654-CAS (RAOx), 2022 WL 2818259, at *8 (C.D. Cal. July 18,
2022).
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remedied with leave from the Court. In re Volkswagen Timing Chain Prod. Liab.

Litig., 2017 WL 1902160, at *22-23 (dismissing with leave to amend).

      Next, Third Circuit precedent is that only in the rarest of cases, “where the

complaint itself demonstrates that the requirements for maintaining a class action

cannot be met,” may a court strike class allegations absent the conducting of

discovery in order to rigorously evaluate the requirements of Rule 23. See

Landsman & Funk PC v. Skinder-Strauss Assocs., 640 F.3d 72, 93 (3d Cir. 2011)

(vacating dismissal where district court prematurely decided class certification

issues on motion to dismiss prior to discovery or a motion for class certification).

      When considering a motion to strike, courts find that “[i]t would be

improper to allow Defendants to slip through the backdoor what is essentially an

opposition to a motion for class certification before Plaintiffs have made such a

motion and when discovery on the issue is still ongoing,” or has yet to begin.

Durso v. Samsung Elecs. Am., Inc., No. 2:12-cv-5352, 2013 WL 5947005, at *3

(D.N.J. Nov. 6, 2013). Plaintiffs’ allegations satisfy a prima facie showing that the

elements of Rule 23 elements are met, and any deficiencies can be addressed

through modifications to the class definition, as is frequently done, or the use of

subclasses or even issue certification under Rule 23(c)(4). Indeed, HP cannot show

that a class could never be certified in this action centering on defective products




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of its manufacture. See, e.g. In re Wal-Mart, 505 F. Supp. 2d 609, 615-16 (N.D.

Cal. 2007).

        HP’s contention that Plaintiffs’ nationwide claims cannot be certified is also

wrong. “[I]n a multistate class action, like this one, a particular state’s law may be

applied where it does not conflict with the law of the state where members of the

class resided.” See In re Valsartan Losartan & Irbesartan Prods. Liab. Litig., No.

19-2875 (RBK/KW), 2021 U.S. Dist. LEXIS 256073, at *120-21 (D.N.J. Oct. 7,

2021) (citing Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 816, 105 S. Ct. 2965,

86 L. Ed. 2d 628 (1985)). Indeed, numerous courts in multi-state class actions

have found that named plaintiffs can be suitable representatives of class

members from different states. See, e.g., In re Sony SXRD Rear Projection

Television Class Action Litig., No. 06 Civ. 5173, 2008 WL 1956267, at *13-14

(S.D.N.Y. 2008). And because Plaintiffs have pled that HP offers inadequate

repairs, e.g. SAC ¶¶24,129, their claims for injunctive relief remain viable. In re

Chevrolet Bolt EV Battery Litig., 2022 WL 4686974, at *31-31. HP’s motion to

strike must therefore be denied.

   V.      LEAVE TO AMEND

        When granting dismissal, courts should freely grant leave to amend unless

doing so would be futile or cause undue prejudice. Toll Bros., Inc. v. Twp. of

Readington, 555 F.3d 131, 144 n. 10 (3d Cir. 2009). Neither applies here because


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this action is in its nascent stages. Accordingly, Plaintiffs respectfully request leave

to amend perceived factual deficiencies—if any—that the Court identifies.

   VI.    CONCLUSION

      Plaintiffs respectfully requests that the Court deny Defendant’s motion.



Dated: October 6, 2022

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                       WORD COUNT CERTIFICATION
      The undersigned hereby certifies that Plaintiffs’ Answering Brief in
Opposition to Defendant’s Motion to Dismiss and Strike contains 7,985 words
(exclusive of the cover page, table of contents, table of authorities, and signature
blocks) in Times New Roman 14–point font, counted using Microsoft Word’s word
count feature.


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